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AO 91 (Rev. 02/09) Criminal Complaint




              United States District Court
                                                              for the
                                                    Western District of New York


                          United States of America
                                                                                    Case No. 23-mj- 168
                                           v.

                                Michael Roncone
                                        Defendant



                                                      CRIMINAL COMPLAINT


         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.


         On or about the date of December 7, 2023, in the County of Erie, in the Western District of New York, the
defendant did knowingly, in violation of Title 18, United States Code, Section 922(g)3.


         This Criminal Complaint is based on these facts:

         ‫ ܈‬Continued on the attached sheet.



                                                                                       Complainant’s si
                                                                                                     signature

                                                                     THOMAS V. WEIS
                                                                     SPECIAL AGENT
                                                                     Federal Bureau of Investigation
                                                                                        Printed name and title



Sworn to before me and signed in my presence.


Date:    December 7, 2023
                                                                                            Judge’s signature



                                                                     HONORABLE H. KENNETH SCHROEDER, JR.
City and State: Buffalo, New York                                    UNITED STATES MAGISTRATE JUDGE
                                                                                         Printed name and title
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               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT



STATE OF NEW YORK )
COUNTY OF ERIE    )                 SS:
CITY OF BUFFALO   )



       I, THOMAS WEIS, being duly sworn, depose and state:

                   AGENT BACKGROUND AND INTRODUCTION

I, Thomas V. Weis, Special Agent of the Federal Bureau of Investigation, United States

Department of Justice, having been duly sworn, states as follows:


       1.     I am a Special Agent with the Federal Bureau of Investigation (“FBI”), United

States Department of Justice. As such, I am an “investigative or law enforcement officer of

the United States” within the meaning of Title 18, United States Code, Section 2510(7), that

is, an officer of the United States who is empowered by law to conduct investigations of and

to make arrests for offenses enumerated in Title 18, United States Code, Section 2516.



       2.     I have served as an FBI Special Agent since March of 2017. During that time,

I have participated in investigations involving drug trafficking and organized crime matters.

In addition, I have had the opportunity to work with several other FBI agents and other law

enforcement agents and officers of varying experience levels, who have also investigated

obstruction of justice matters and drug trafficking networks, with regard to the manner in

which controlled substances are obtained, diluted, packaged, distributed, sold and used within

the framework of drug trafficking in the Western District of New York. As a result of my

experience, I am familiar with how controlled substances are obtained, diluted, packaged,
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distributed, sold, and used in the framework of drug trafficking in the Western District of New

York and how drug traffickers utilize wire communications to facilitate their illegal activities.

Further, I am familiar with how individuals utilize wire communications to facilitate the

sharing of information, including Law Enforcement activity and/or potential investigations

into illegal activities. My investigative experience detailed herein, and the experiences of

other law enforcement agents, who are participating in this investigation, serve as the basis

for the opinions and conclusions set forth herein.



       3.      I have personally participated in the investigation set forth below. I am familiar

with the facts and circumstances of the investigation through my personal participation,

discussions with other agents of the FBI, HSI, and other law enforcement officials, interviews

of witnesses, and my review of relevant records and reports. Unless otherwise noted,

wherever in this affidavit I assert that a statement was made, the information was provided

by an FBI agent, law enforcement officer, or witness who had either direct or hearsay

knowledge of that statement, to whom I or others have spoken or whose reports I have read

and reviewed. Such statements are among statements made by others and are stated in

substance and in part unless otherwise indicated. Any interpretations or opinions rendered

in this affidavit are based on my training and experience, and upon my consultation with

other experienced investigators, in the context of the facts of this investigation.



       4.      I have set forth only the facts that I believe are necessary to establish probable

cause that:




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            a. MICHAEL RONCONE (“RONCONE”) has committed violations of Title

                 18, United States Code, 922(g)(3) (unlawful user of a controlled substance in

                 possession of a firearm).



       5.        This affidavit is provided for the limited purpose of establishing probable cause

to support the attached complaint and therefore does not contain each and every detail of the

investigation.

                                      PROBABLE CAUSE

       6.        On December 5, 2023, the FBI obtained a federal search warrant (the

“Warrant”) authorizing the search of 4998 William Street, Lancaster, NY 14086

(“RONCONE’S HOME”), and the Rare Breed Motorcycle Club’s clubhouse (“RBMC

CLUBHOUSE”) in Wellsville, NY.


       7.        RONCONE is the president of the Rare Breed Motorcycle Club, a support club

of the Outlaws Motorcycle Club, an international criminal organization. The Outlaws MC

have maintained a presence in the Buffalo, New York area unabated, and have been the

dominant 1% biker club in the region.



       8.        In executing the Warrant on December 7, 2023, FBI agents discovered, among

other evidence of criminal activity, evidence that RONCONE is an unlawful user of

controlled substances in possession of a firearm in violation of 18 U.S.C. § 922(g)(3).


       9.        Across the two premises, FBI agents discovered cocaine, marijuana, drug

paraphernalia, and approximately twenty-nine firearms. In RONCONE’S HOME, for



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instance, FBI found multiple firearms in a safe containing marijuana. Elsewhere in the

residence, agents discovered cocaine and cocaine paraphernalia as pictured below.




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      10.    At the RBMC’s Wellsville Clubhouse, agents discovered marijuana and

firearms in a recreational vehicle containing RONCONE’S identification, as pictured below:




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       11.    Among the firearms recovered from the RBMC Wellsville Clubhouse was an

SKS Rifle, pictured above, bearing serial number 1803870.



       12.    On December 7, 2023, Special Agent William Farnham, a certified Firearms

Interstate Nexus Expert with the Bureau of Alcohol, Tobacco, Firearms, and Explosives

(ATF), was consulted and provided an interstate nexus determination of the above-mentioned

firearm, found at the RBMC Wellsville Clubhouse, as well as the firearms recovered from

RONCONE’S HOME. SA Farnham determined, based upon his personal knowledge,

experience, and research, that firearms seized from both premises, including the SKS Rifle,

were manufactured outside of the State of New York and would have traveled in and affected

interstate commerce prior to their recovery in the State of New York.



       13.    Based on the foregoing—specifically, the firearms seized from RONCONE’S

home and the RBMC Wellsville Clubhouse and the cocaine and marijuana seized from

RONCONE’S home and the RBMC Wellsville Clubhouse—there is probable cause to

believe that RONCONE committed violations of Title 18, United States Code, 922(g)(3)

(unlawful user of a controlled substance in possession of a firearm).




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                                    CONCLUSION

      WHEREFORE, based upon the foregoing, I respectfully submit that there is probable

cause to believe that MICHAEL RONCONE have committed violations of the Enumerated

Offense.



                                         THOMAS
                                            OMAS V  V. WEIS
                                         Special Agent
                                         Federal Bureau of Investigation


Sworn to and subscribed telephonically
this 7th day of December, 2023.



HONORABLE
 ONORABLE H.   H KENNETH SCHROEDER,
                               SCH
                                 HRO
                                  R E JR.
United States Magistrate Judge




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